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                    EXHIBIT C
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  From:     Thomas H. Reger II
  Sent:     Thursday, December 17, 2009 11:31 AM
  To:       msupko@crowell.com
  Cc:       John McDowell
  Subject: RE: Kodak/RIM Litigation

Mark,

Now that the parties’ Opening Markman Briefs are done, we are continuing to review Kodak’s most recent production, which
includes additional prior art analysis by other defendants. For the reasons detailed in my earlier letters of November 2 and 23 (as
well as emails before that), RIM plans to ask the Court for leave to supplement our invalidity contentions, in view of testimony,
references, Kodak supplements to its 3-2 prior art identifications, and other information that was learned after service of the original
invalidity contentions on July 15, 2009. RIM received this information through discovery, namely Kodak testimony or production,
which RIM was diligent in pursuing from Kodak. That being said, and as you requested, the art we plan to specifically chart using
information learned from Kodak is identified below.

For the ‘335 Patent, the following prior art provides the basis for the supplemental contentions:

  1.    ECAM Camera
  2.    Hawkeye Camera
  3.    PC Camera Concept Breadboard
  4.    Chameleon Program
  5.    5,401,170 Patent to Parulski

And for the ‘161 Patent, the following art provides the basis for the supplemental contentions:

  1.    McDonnell Douglas offer for sale
  2.    Jazz
  3.    Apollo DOMAIN
  4.    Gutenberg kernel
  5.    CLOUDS
  6.    Eden
  7.    Intermedia
  8.    Cronus
  9.    Ability
 10.    Xerox ViewPoint
 11.    TABS
 12.    Matchmaker from Carnegie Mellon

To reiterate, all of this information was in the possession of Kodak, and was requested by RIM in March (again, our invalidity
contentions were served in July). Also, given this most recent production by Kodak, we plan to supplement our contentions to
expressly refer to or incorporate Dr. Hunt’s invalidity analysis and charts from the ITC action (involving the ‘335 and ‘218 patents).
Please let me know if Kodak will oppose our request; if Kodak does not oppose, then RIM will file a “barebones” unopposed motion
for leave.

Of course, if you would like to discuss, I am available at 214.292.4084. Thank you.
Tom Reger


From: Supko, Mark [mailto:MSupko@crowell.com]
Sent: Wednesday, November 25, 2009 8:04 AM

                                                                                                               Pl. App. No. 55



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To: Thomas H. Reger II
Cc: John McDowell
Subject: Kodak/RIM Litigation



Please see the attached correspondence.

<<11-25-09 Ltr to Reger.PDF>>
Mark

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